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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                                   CASE NO.: 4:08cr29-SPM

CHARLES GLENN COOK,

           Defendant.
_____________________________/


                     ORDER CONTINUING SENTENCING

       Upon consideration, Defendant’s Unopposed Motion to Continue

Sentencing (doc. 374) is granted. Defendant’s sentencing hearing his reset for

1:30 p.m. on July 20, 2009, at the United States Courthouse in Tallahassee,

Florida.

       SO ORDERED this 9th day of April, 2009.



                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
